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IN THE UNITED STATES DISTRICT COURT n L“ 7% l
FoR THE WESTERN DISTRICT oF TENNESSEE 135 grigg ; g mg 5; rig

 

    

WESTERN DIvrsloN '
rn Re ACCREDo HEALTH, INC. ‘f fig
sECURITrEs LITIGATION, Civii Acrion NO_; 03_2216-131>
CLAss ACT]oN

 

This Document Relates to:

ALL ACTIONS

 

ORDER GRANTING PRO HAC VICE ADMISSION
OF TIMOTHY A. DELANGE AS COUNSEL FOR PLAINTIFF

 

The Motion of B. J. Wade Requesting Admission of Timothy A. DeLan ge Pro Hac Vz`ce
to represent Plaintit`f Louisiana School Employees’ Retirement System in this litigation was
brought before this Court for consideration without a hearing Ai`ter reviewing the Motion and
supporting papers, the Court finds that the same should be GRANTED.

Upon unopposed motion showing adequate cause, it is so ORDERED that Timothy A.
DeLange is hereby admitted pro hac vice to represent Plaintiff Louisiana School Ernployees"

Retirement System in the Consolidated actions

ORDERED THIS THE [/ DAY OFy 2 § 7£?( , 2005.

TED STAT S DISTRICT JUDGE

    

Th:'s document entered on the docket sheet Iri cf.LIJPHanCS l \
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 125 in
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